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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS


IN RE: TESTOSTERONE REPLACEMENT
THERAPY PRODUCTS LIABILITY LITIGATION          MDL No. 2545

This document applies to:                      Master Docket Case No. 1:14-cv-01748
All cases                                      Honorable Matthew F. Kennelly

   PLAINTIFFS’ STEERING COMMITTEE’S SUBMISSION REGARDING
        COMMON BENEFIT FEE COMMITTEE APPOINTMENTS
      Pursuant to Case Management Order No. 138, the Court’s corresponding
minute entry (Dkt. No. 2894), the Plaintiffs’ Steering Committee hereby nominates
the following six attorneys from which the Court will appoint an odd-numbered fee
committee to serve as the Common Benefit Fee Committee. See also Case Mgmt.
Order 16, Dkt. No. 488 (Nov. 25, 2014) (requiring a majority vote in order for the
committee to make recommendations to the Court):
             1. Trent Miracle,
             2. Christopher Seeger,
             3. Ronald Johnson,
             4. Michelle Kranz,
             5. Troy Rafferty, and

             6. Michael London
      From the outset of the litigation, these counsel have been responsible for
coordinating the activities of the members of the Plaintiffs’ Steering Committee in
conducting this litigation toward final resolution and have taken the lead in
litigating these matters on behalf of all Plaintiffs. See generally Case Mgmt. Order
6, Dkt. No. 255 (Aug. 13, 2014). These counsel are uniquely able to evaluate the
time of and type of work performed by their fellow attorneys that provided common
benefit to the litigation as a whole and resulted in resolution of the litigation. Their


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enumerated responsibilities have included overseeing common benefit time and
expense standards and procedures. Id. at ¶ 6; CMO 16. They are best-suited to
perform the tasks and responsibilities required under CMO 16.
      As the Court pointed out in CMO 138, members of the Common Benefit Fee
Committee will “make recommendations [to the Court] for distributions to
Participating Counsel.” Case Mgmt. Order 16, Dkt. No. 488 (Nov. 25, 2014) (CMO
16) at ¶ V.B. The Plaintiffs’ Steering Committee submits that these attorneys and
their staff are best situated to make efficient and timely recommendations to the
Court for distributions to Participating Counsel.
      The Plaintiffs’ Steering Committee respectfully submits that these counsel
will continue to perform the duties required for the proper coordination of Plaintiffs’
activities and those required by further order of the Court.




Dated: October 26, 2018                 Respectfully submitted,


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                          CERTIFICATE OF SERVICE
      I hereby certify that on October 26, 2018, I electronically transmitted the
foregoing document to the Clerk of the United States District Court using the
CM/ECF system for filing and service to all parties/counsel registered to received
copies in this case.

                                     /s/ Brendan A. Smith
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